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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO

   Civil Action No. 1:23-cv-01557-DDD-STV

   DARREN PATTERSON CHRISTIAN ACADEMY
       Plaintiff,
   v.

   LISA ROY, in her official capacity as Executive Director of the Colorado
   Department of Early Childhood; and

   DAWN ODEAN, in her official capacity as Director of Colorado’s Universal
   Preschool Program,
         Defendants.

       COMBINED BRIEF IN SUPPORT OF MOTION TO DISMISS AND IN
         OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION
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                                     INTRODUCTION

         Plaintiff’s briefing confirms that any alleged injury is hypothetical and that

   this Court lacks subject matter jurisdiction. Although Plaintiff must establish

   standing and ripeness, it fails to show any injury based in reality; nor does it

   establish that this dispute is fit for judicial decision. Plaintiff seeks an advisory

   opinion based on a hypothetical chain of events that may never occur.

         Because it cannot establish any injury, Plaintiff suggests that the First

   Amendment provides federal courts with carte blanche subject matter jurisdiction.

   But the Supreme Court “has never recognized an unqualified right to pre-

   enforcement review of constitutional claims in federal court.” Whole Woman's

   Health v. Jackson, 595 U.S. 30, 49 (2021). A “‘chilling effect’ associated with a

   potentially unconstitutional law being ‘on the books’ is insufficient by itself to

   ‘justify federal intervention’ in a pre-enforcement suit.” Id. at 50 (citations omitted).

   This applies even if the “challenged law in question is said to chill the free exercise

   of religion, the freedom of speech...” Id. (emphasis added). And “[o]ne thing this

   Court may never do is disregard the traditional limits on the jurisdiction of federal

   courts just to see a favored result win the day." Id. at 51. Instead, courts must

   require “proof of a more concrete injury and compliance with traditional rules of

   equitable practice.” Id. at 50.

         But here, there is no injury. Plaintiff is participating in Colorado’s Universal

   Preschool Program (the “Program”) and 20 children were matched to Plaintiff’s


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   preschool as parent’s number one choice of school. Supplemental Declaration of

   Dawn Odean at ¶12. 1 In return, the Colorado Department of Early Childhood (the

   “Department”) continues to reimburse Plaintiff for services rendered. And the

   Department has not taken or threatened enforcement action against the Plaintiff.

            Plaintiff now attempts to create a self-inflicted “injury:” it claims that it has

   not spent funds received from the Department based on the false premise that the

   Department will recoup payment when the Department has no authority to recover

   payments for services Plaintiff actually provided. Supp. Dec. at ¶ 33. The Supreme

   Court is clear that this type of manufactured injury is insufficient to warrant

   judicial intervention. See Clapper v. Amnesty Intern. USA, 568 U.S. 398, 402 (2013).

                                          ARGUMENT

       I.      Plaintiff continues to lack standing.

               A.     Plaintiff fails to establish any credible threat of
                      enforcement and cannot show that the challenged statute
                      and Quality Assurance Provision objectively chill its speech.

            Plaintiff seeks an advisory opinion based on the premise that on some

   unknown day in the future, the Department will enforce the challenged statute and

   Quality Assurance Provision against them. But that is not enough. Plaintiff fails to

   meet its burden.




   1
    This Supplemental Declaration and the Original Declaration (Doc. 28-1) constitute
   the Defendants’ witness declarations. See Doc. 32.
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                    1.    Plaintiff alleges only a subjective chill.

         A party bringing First Amendment claims “must present more than

   ‘(a)llegations of a subjective chill.’” Bigelow v. Virginia, 421 U.S. 809, 816 (1975)

   (quoting Laird v. Tatum, 408 U.S. 1, 13-14 (1972)). “Allegations of a subjective ‘chill’

   are not an adequate substitute for a claim of specific present objective harm or a

   threat of specific future harm[.]” Laird, 408 U.S. at 13-14. “The chilling effect, to

   amount to an injury, must arise from an objectively justified fear of real

   consequences, which can be satisfied by showing a credible threat of prosecution or

   other consequences following from the statute’s enforcement.” D.L.S. v. Utah, 374

   F.3d 971, 975 (10th Cir. 2004); see also Morrison v. Bd. of Educ. of Boyd Cnty., 521

   F.3d 602 (6th Cir. 2008).

         Plaintiff argues it has standing because the “challenged rules” chill its speech

   and religious exercise. Doc. 38 at 4. But Plaintiff does not allege that it has made

   any change to its policies because of its participation in the Program. Rather,

   Plaintiff continues to provide preschool services and to receive payment for those

   services, and the Department has not acted against Plaintiff. Plaintiff’s subjective

   worry is not enough.

                    2.    No facts support a credible threat of enforcement.

         Plaintiff next attempts to show a credible threat of enforcement through

   several separate arguments, claiming that: (1) Plaintiff does not need to subject


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   itself to a penalty to have standing; (2) lack of enforcement does not matter because

   the Program is new; (3) possible investigations constitute a credible threat; (4) third

   parties may file a complaint; and (5) Defendants have not disavowed enforcement.

   As explained below, each argument fails.

   No need to subject itself to penalty:

         Plaintiff argues it does not have to subject itself to “penalty” or be “explicitly

   threatened” with enforcement to have standing. Doc. 38 at 7. Each of the cases

   Plaintiff relies upon are distinguishable.

         In Peck v. McCann, the Tenth Circuit found a credible threat of enforcement

   where the challenger had previously made a disclosure in violation of statute, the

   challenger made a sworn declaration stating a desire to make another disclosure in

   violation of statute, and a judge issued an order warning the challenger against

   making such disclosures. 43 F.4th 1116, 1130 (10th Cir. 2022). In 303 Creative LLC

   v. Elenis, the court found a credible threat of enforcement because appellant

   intended to refuse to provide certain services in direct conflict with the challenged

   statute where there was a “history of past enforcement against nearly identical

   conduct.” 6 F.4th 1160, 1170 (10th Cir. 2021). And in Colorado Union of Taxpayers,

   Inc. v. Griswold, the court found a credible threat of enforcement where the plaintiff

   had already failed to comply with one provision of the challenged law, and where it

   credibly announced its plan to violate another provision of the law that had been

   enforced against other parties in similar circumstances. No. 22-1122, 2023 WL


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   5426581, at *1-7 (10th Cir. Aug. 23, 2023). None of the facts that supported

   standing in Peck, 303 Creative, and Colorado Union are present in this record.

         Plaintiff points to nothing but imagined enforcement based on a hypothetical

   chain of events that may never occur. Again, possible enforcement of the Quality

   Assurance Provision would require at least ten steps, involving various actions by a

   family and Plaintiff. Doc. 28 at 8-9. Plaintiff has not met its burden to present a

   sufficient factual record to support a credible threat of enforcement.

   Lack of enforcement:

          Plaintiff argues that the existence of a new law “alone may create a threat

   that is credible enough to create standing.” See Doc. 38 at 8. But this is in direct

   conflict with Supreme Court precedent, which again provides that “the ‘chilling

   effect’ associated with a potentially unconstitutional law being ‘on the books’ is

   insufficient” by itself to “‘justify federal intervention’ in a pre-enforcement suit.”

   Whole Woman's Health, 595 U.S. at 50. Moreover, courts hold that the newness of a

   law does not relieve a plaintiff of its burden to establish a credible threat of

   enforcement. See Nat'l Shooting Sports Found. v. Att'y Gen. of New Jersey, No. 23-

   1214, 2023 WL 5286171, at *6 (3d Cir. Aug. 17, 2023) (“True, the Law is new, so

   lack of enforcement does not tell us much either way. But the Foundation bears the

   burden to show standing, and this indeterminate factor does not help it carry that

   burden.”).




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  Possibility of investigation:

          Plaintiff next imagines an intrusive and lengthy investigation into a

  hypothetical complaint to allege that the prospect of an investigation presents a

  credible threat of enforcement. But that again is speculative, without basis in fact

  or experience, and is insufficient to establish standing. Abbott v. Pastides, 900 F.3d

  160, 179 (4th Cir. 2018) (“[B]ecause the plaintiffs can point to no reason to think

  they will be subjected to some different and more onerous process not yet

  experienced or threatened, their claim to injury by way of threatened ‘process’ is

  purely speculative and thus insufficient to establish standing.”).

      Third-Party Enforcement:

          Plaintiff next argues that it faces a credible threat of enforcement under

  Contractual Provision 18(B) because “virtually anybody can file a complaint and

  enforce the challenged rules against the school.” Doc. 38 at 9. 2

          Not so. First, the Department has exclusive authority to enforce the Quality

  Assurance Provision; no third-party enforcement of any kind is available under that

  Provision. Doc. 28 at 12.

          Second, unlike the cases cited by Plaintiff, Contractual Provision 18(B)

  permits complaints only by persons who believe they themselves have been

  discriminated against in receiving preschool services or in employment at a



  2
   Plaintiff also conflates and confuses the actual issues by pointing to the Colorado
  Anti-Discrimination Act (“CADA”). However, this case is not a challenge to CADA.

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  participating preschool. Doc. 1-6 at 29. It is simply not true that “virtually anybody”

  can enforce the terms of the Agreement between the Department and a Program

  provider. This is in stark contrast to the campaign finance laws at issue in Colorado

  Union of Taxpayers, which enable “[a]ny person who believes that a violation has

  occurred” to file a complaint. Colo. Union of Taxpayers, Inc., 2023 WL 5426581 at *4

  (citing Colo. Rev. Stat. § 1-45-111.7(2)(a)).

  Disavowal:

        Plaintiff asserts that the Department has refused to disavow future

  enforcement because it did not grant Plaintiff a religious exemption. But as

  Defendant Roy explained, the Department does not have authority to create an

  exemption from a statutory requirement. See Doc. 1-10 at 2. Even so, it is not

  necessary for the Department to “refute and eliminate all possible risk that the

  statute might be enforced to demonstrate a lack of a case or controversy.” Mink v.

  Suthers, 482 F.3d 1244, 1255 (10th Cir. 2007).

        Defendants are not required to refute enforcement based on a hypothetical

  chain of events that lack specific facts and are unlikely to occur. Parents of 20

  children chose Plaintiff’s preschool as their number one choice, the Department

  matched those families with Plaintiff, Plaintiff continues to be paid for the services

  provided, and the Department has not taken or threatened enforcement action

  against Plaintiff.




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            B.    Plaintiff faces no credible threat of enforcement of the
                  Blanket Provision (Contractual Provision 18(B)).

        As to Contractual Provision 18(B) and Plaintiff’s hiring decisions, the

  Department “disavows enforcement of Contractual Provision 18(B) against religious

  providers who hire co-religionists in accordance with federal law[.]” Doc. 28-1 at ¶

  26. As to ministerial employees, the Department similarly disavows enforcement

  “against religious providers’ employment decisions involving their ministerial

  employees as protected by federal law.” Id. at ¶ 27.

        Plaintiff argues that this disavowal is not enough, pointing to ongoing legal

  actions in other states debating the scope of Title VII’s religious exemptions. But

  the Department cannot be more specific about its position in any future

  enforcement action without actual facts that would enable it to determine whether a

  contested employment action involved “ministerial employees” or determine the

  actual basis for a contested employment action. Again, possible enforcement of

  Contractual Provision 18(B) would require at least eight steps involving various

  actions by Plaintiff and an employee or applicant for employment. Doc 28 at 9.

            C.     Plaintiff’s alleged injury is self-inflicted and does not
                   establish standing.

        As the Supreme Court made clear in Clapper v. Amnesty International USA,

  a plaintiff cannot “manufacture” standing by making choices “based on hypothetical

  future harm that is not certainly impending.” 568 U.S. 398, 402 (2013). Plaintiffs

  cannot assert a standing theory that “relies on a highly attenuated chain of


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  possibilities.” Id. at 410. Such theory “does not satisfy the requirement that

  threatened injury must be certainly impending.” Id.

           That is exactly what happened here. Plaintiff asserts an injury because it

  chose not to spend funds it received through the Program for services it already

  provided. Doc. 38 at 1. Plaintiff contends that although the Department paid it for

  providing preschool services, its “ability to use [those funds] is contingent upon the

  school being able to ‘fully participate’ in [the Program].” Doc. 38-1 at 2 ¶¶ 3-6. This

  is untrue as Plaintiff is already fully participating the Program. The Plaintiff was

  paid $10,832.76 on August 1 after 18 preschool students were initially enrolled

  through the Program and started preschool that month. On September 8, Plaintiff

  was paid $1,661.90 for two additional students matched to it in August and then

  $12,494.66 for the now 20 preschool students currently matched in its preschool

  through the Program. Supp. Dec. at ¶¶ 24-26. Nothing prevents Plaintiff from using

  the nearly $25,000 it has already received, and completely controls, for the services

  it has already provided.

     II.      This case is not ripe.

           Plaintiff argues that the Defendants’ ripeness arguments are solely

  prudential, and not jurisdictional. But Defendants challenge this dispute’s ripeness

  for both jurisdictional and prudential concerns. See Texas Brine Company, LLC and

  Occidental Chemical Corporation, 879 F.3d 1224, 1229 (10th Cir. 2018) (“the

  ripeness doctrine derives from both constitutional and prudential concerns.”).


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           “The question of whether a claim is ripe for review bears on a court’s subject

  matter jurisdiction under the case or controversy clause of Article III of the United

  States Constitution.” New Mexicans for Bill Richardson v. Gonzales, 64 F.3d 1495,

  1498–99 (10th Cir. 1995); DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 352 (2006)

  (“The doctrines of mootness, ripeness, and political question all originate in Article

  III’s ‘case’ or ‘controversy’ language, no less than standing does.”). Unlike standing,

  ripeness focuses “not on whether the plaintiff was in fact harmed, but rather

  whether the harm asserted has matured sufficiently to warrant judicial

  intervention.” Peck, 43 F.4th at 1133 (citations omitted). In this way, Article III’s

  ripeness and other justiciability requirements ensure that courts have sufficient

  facts to make fully informed decisions about “difficult constitutional questions,” and

  preserves the wise use of federal courts’ scarce judicial resources. See Schaffer v.

  Clinton, 240 F.3d 878, 883 (10th Cir. 2001); Keyes v. Sch. Dist. No. 1, Denver, Colo.,

  119 F.3d 1437, 1443 (10th Cir. 1997). And even if a case “satisfies Article III’s ‘case

  or controversy requirement,’ [courts] may still decline to review it under the

  prudential ripeness doctrine.” United States v. Cabral, 926 F.3d 687, 693 (10th Cir.

  2019).

           This dispute is not ripe for several reasons. First, the Department only

  recently started the rulemaking process for the Program’s Quality Standards, which

  may affect matters relevant to issues in this case. Supp. Dec. at ¶¶ 34-43. The

  Department has invited input from public stakeholders, including faith-based


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  providers, and expects the final rules will be promulgated by the Spring of 2024,

  effective beginning the 2024-2025 school year. Id.

        In addition, Plaintiff has not established ripeness because the dispute is not

  fit for judicial resolution and withholding review will not cause hardship. Plaintiff

  asserts this case is fit for resolution because the school has policies and employment

  practices that it believes violate the Agreement. But the Department has not taken

  or threatened enforcement action based on these policies and practices. And again,

  it may never do so, given the chain of events that would first have to occur. For the

  Department to make any such decision—and for this Court to assess the legality of

  any such decision—requires specific facts entirely absent here.

        Nor would withholding judicial consideration impose a hardship on Plaintiff.

  “In assessing hardship, [courts] typically focus on whether the challenged action

  creates a direct and immediate dilemma for the parties.” Peck, 43 F.4th at 1134. “By

  declining to address the remedy of a violation which may never occur, we simply

  maintain the status quo.” Utah Republican Party v. Cox, 892 F.3d 1066, 1093 (10th

  Cir. 2018). Plaintiff has not presented a “direct and immediate dilemma;” rather, it

  speculates about a potential future dilemma. By declining to address the Plaintiff’s

  claims, the Court simply maintains the status quo.

     III.   No preliminary injunction is warranted.

        As discussed above, Plaintiff has not shown a likelihood of success on the

  merits because it does not have standing and this case is not ripe. Plaintiff falsely


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  states that Defendants do not contest the merits of this action. Doc. 38 at 14.

  Defendants absolutely do not concede the merits and are prepared to defend the

  merits should this case move forward. But, Plaintiff cannot proceed to the merits

  without first establishing Article III justiciability. TransUnion LLC v. Ramirez, 141

  S. Ct. 2190, 2200 (2021). Moreover, it is Plaintiff’s burden on all four factors to show

  that the extraordinary and drastic remedy of a preliminary injunction is warranted.

  Mazurek v. Armstrong, 520 U.S. 968, 972 (1997). That burden is not met.

            A.   Plaintiff suffers no irreparable harm warranting preliminary
                 relief.

        Plaintiff cannot show that it will suffer irreparable harm absent a

  preliminary injunction. Plaintiff is participating in the Program, is receiving

  payment for the services it provides, and has not changed its practices. Its alleged

  injury is entirely hypothetical and based on a series of events that have not

  occurred and may never occur. Plaintiff suffers no harm that is “certain, great,

  actual and not theoretical.” Heideman v. S. Salt Lake City, 348 F.3d 1182, 1189

  (10th Cir. 2003).

            B.   The remaining factors also disfavor preliminary injunctive
                 relief.

        “Without a showing of irreparable harm, the court need not balance the

  harms or evaluate the public interest in depth.” Pena Villasano v. Garfield Cnty.

  Sch. Dist. 16, No. 23-CV-01317-RMR, 2023 WL 3687441, at *9 (D. Colo. May 26,

  2023) (citing Dominion Video Satellite, Inc. v. Echostar Satellite Corp., 356 F.3d


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  1256, 1260 (10th Cir. 2004). Again, Plaintiff has not shown any harm. Nor does it

  make any effort to address the remaining preliminary injunction factors.

        As outlined in Defendants’ Response to the Motion for Preliminary

  Injunction, the third and fourth factors —the public interest and the balance of

  equities—coincide in this case and weigh against granting a preliminary injunction.

  The actions of Colorado voters and the General Assembly resulted in the creation of

  the Program to better serve Colorado children and families. Colo. Rev. Stat. §§ 26.5-

  4-202; 26.5-1-102(1)(a), (f). In addition, the government has a long-standing public

  interest in preventing discrimination in the education of children. See Norwood v.

  Harrison, 413 U.S. 455, 469 (1973).


                                    CONCLUSION

        For these reasons, Defendants’ Motion to Dismiss should be granted and

  Plaintiff’s Motion for Preliminary Injunction should be denied.

  DATED: September 28, 2023.

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                            CERTIFICATE OF COMPLIANCE

  I hereby certify that the foregoing pleading complies with the type-volume

  limitation set forth in Judge Domenico’s Practice Standard III(A)(1) and as set forth

  in the Order Setting Briefing Schedule and Hearing on Motion for Preliminary

  Injunction and Motion to Dismiss (ECF No. 32).


                             CERTIFICATE OF SERVICE

         I hereby certify that on September 28, 2023, I electronically filed the
  foregoing COMBINED BRIEF IN SUPPORT OF MOTION TO DISMISS AND
  IN OPPOSITION TO MOTION FOR PRELIMINARY INJUNCTION with the
  Clerk of Court using the CM/ECF system. I certify that all participants in the case
  are registered CM/ECF users and that service will be accomplished by the CM/ECF
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